ODG (12/1/10) dcm                UNITED STATES BANKRUPTCY COURT                      U.S. BANKRUPTCY COURT
                                          District of Oregon                          DISTRICT OF OREGON
                                                                                            FILED
In re                                            )
 William John Berman                             ) Case No. 19−60230−tmb11       January 30, 2019
Debtor(s)                                        )                         Clerk, U.S. Bankruptcy Court
                                                 )
                                                 ) ORDER OF DESIGNATION           BY dcm DEPUTY
                                                 ) AND NOTICE OF CHAPTER 11
                                                 ) FINANCIAL REPORTING AND
                                                 ) MAILING REQUIREMENTS
                                                 )
                                                 )


IT IS ORDERED that:

William John Berman is designated to fulfill the duties of the debtor by §§343 and 521 and other relevant
sections of Title 11 United States Code, and all Orders of this Court.

THE DEBTOR IS ALSO NOTIFIED that:

1.    Local Bankruptcy Rule 2015−2 prescribes the Court's Chapter 11 financial reporting requirements.
      YOU MUST IMMEDIATELY READ THIS LOCAL RULE CAREFULLY AND FOLLOW IT
      PRECISELY!

2.    EACH MONTH'S ORIGINAL FINANCIAL REPORT MUST HAVE ORIGINAL SIGNATURES WHERE
      REQUIRED, BE FILED WITH THE COURT, AND A COPY FILED WITH THE APPROPRIATE U.S.
      TRUSTEE'S OFFICE.

3.    The U.S. Trustee's office will provide you with a copy of the MOST CURRENT, AND PERTINENT,
      VERSION of the monthly financial report form that must be used in your case.

4.    The reports for each month are due on the 21st day of the next month.

5.    The Court will take steps to dismiss the case for lack of prosecution if you fail to strictly comply with
      Local Bankruptcy Rule 2015−2.

6.    The Court serves, on each creditor listed with a complete address (including a zip code), notice of a
      creditor's meeting. If any creditor's address is incorrect, the notice may be returned to the debtor(s)
      (except that it may not even be served if no complete address and zip code were given). If you find a
      correct address or zip code you should re−serve the notice; and also file Local Form #728 (with the
      appropriate filing fee) to amend your schedules. If it was the Court's mistake, you must notify us in
      writing immediately.

                                                                                Clerk, U.S. Bankruptcy Court




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